
85 So.3d 558 (2012)
David GOODWIN, Appellant,
v.
STATE of Florida, Appellee.
No. 1D10-4784.
District Court of Appeal of Florida, First District.
April 16, 2012.
Nancy A. Daniels, Public Defender, and M.J. Lord, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Donna A. Gerace, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
AFFIRMED. See Flagg v. State, 74 So.3d 138 (Fla. 1st DCA 2011).
WOLF, PADOVANO, and MARSTILLER, JJ., concur.
